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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,               )
                                            )
          v.                                )       Case No. 22-320 (JMC)
                                            )
    ANTONIO LAMOTTA,                        )
                                            )
                        Defendant.          )
                                            )

               DEFENDANT’S MOTION TO DISMISS COUNT ONE OF THE
                          SUPERSEDING INDICTMENT

          The defendant, Antonio Lamotta, files this motion to dismiss count one of

    the Superseding Indictment filed against him on September 29, 2023 (ECF No. 37),

    pursuant to Fed. R. Crim. P. 12(b). For the reasons discussed below, 18 U.S.C. §

    231(a)(3) is unconstitutionally vague and fails to provide sufficient notice.

    Furthermore, § 231(a)(3) exceeds Congress’s Commerce Clause authority. Lastly,

    the Superseding Indictment does not identify a federally protected function within

    the meaning of the Civil Disorder statute . 1




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 Counsel understands that similar arguments have been rejected by several judges in this
district court. See United States v. Nordean, 579 F. Supp.3d 28 (D.D.C. 2021); United States
v. Bingert et al., 605 F.Supp. 3d 111 (D.D.C. 2022); United States v. Mostofsky, 579 F.
Supp.3d 9 (D.D.C. 2021); United States v. McHugh, 583 F. Supp. 3d 1 (D.D.C. 2022).
Counsel also understands that this Court has previously denied one of the issues
(vagueness) raised in this pleading in United States v. Samsel, 21-cr-537 (JMC), ECF No.
240. However, Mr. Lamotta’s pleading addresses additional arguments with respect to
vagueness and raises a commerce clause argument that, to undersigned counsel’s
knowledge, has not yet been addressed by this Court.
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                                  BACKGROUND

      On August 8, 2022, Mr. Lamotta was charged with alleged violations of 18

U.S.C. §1752(a)(1) and (2), and 40 U.S.C. §5104 (e)(2)(D), and (G). See ECF Dkt. No.

1. The government then filed an Information alleging the same charges on

September 27, 2022. See ECF Dkt. No. 11. Trial on these misdemeanor charges was

scheduled for the fall of 2023 until the government filed a superseding indictment

charging him with a felony count of Civil Disorder in violation of 18 U.S.C. §

231(a)(3) in addition to the above misdemeanor charges. Based on this new felony

charge, Mr. Lamotta’s trial was postponed until March 11, 2024.



                                LEGAL AUTHORITY

      A criminal statute is unconstitutionally vague if it “fails to give ordinary

people fair notice of the conduct it punishes, or is so standardless that it invites

arbitrary enforcement.” United States v. Bronstein, 849 F.3d 1101, 1106 (D.C. Cir.

2017) (quoting Johnson v. United States, 576 U.S. 591, 595 (2015)). “The touchstone

is whether the statute, either setanding alone or as construed, made it reasonably

clear at the relevant time that the defendant’s conduct was criminal.” United States

v. Lanier, 520 U.S. 259 (1997). The “void-for-vagueness doctrine” protects against

arbitrary or discriminatory law enforcement. Sessions v. Dimaya, 138 S. Ct. 1204,

1212 (2018) (citing Kolender v. Lawson, 461 U.S. 352, 358 (1983)).

      The rule of lenity applies if the terms of the statute are ambiguous; once it is
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determined that a statute is ambiguous, the rule of lenity “requires that the more

lenient interpretation prevail.” United States v. R.L.C., 503 U.S. 291, 293 (1992).

This rule is rooted in “the instinctive distaste against men languishing in prison

unless the lawmaker has clearly said they should.” Id. at 305 (quoting United States

v. Bass, 404 U.S. 348, 336 (1971)). The Courts have “[r]eserved lenity for those

situations in which a reasonable doubt persists about a statute’s intended scope

even after resort to the language and structure, legislative history, and motivating

policies of the statute.” Id. (citing Moskal v. United States, 498 U.S. 103, 108

(1990)). “Whether a statutory term is unambiguous … does not turn solely on

dictionary definitions of its component words. Rather, ‘the plainness or ambiguity

of statutory language is determined [not only] by reference to the language itself,

[but as well by] the specific context in which that language is used, and the broader

context of the statute as a whole. Yates v. United States, 574 U.S. 528, 537 (2015)

(quoting Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997)).

      The Commerce Clause prohibits the criminalization of noneconomic

intrastate activity unless “the regulated activity ‘substantially affects’ interstate

commerce.” United States v. Lopez, 514 U.S. 549, 559 (1995).

      A “federally protected function” is defined as a “function, operation, or action

carried out, under the laws of the United States, by any department, agency, or

instrumentality of the United States or by an officer or employee thereof; and such

term shall specifically include, but not be limited to, the collection and distribution
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of the United States mails.” 18 U.S.C. § 232(3).

                                   ARGUMENT

   I.      18 U.S.C. 231(a)(3) is Unconstitutionally Vague and Fails to
           Provide Sufficient Notice

        A criminal statute is void for vagueness when it (1) “fails to give a person of

ordinary intelligence fair notice that his contemplated conduct is forbidden,” United

States v. Harriss, 347 U.S. 612, 617 (1954); or (2) “encourages arbitrary and erratic

arrests and convictions.” Papachristou v. Jacksonville, 405 U.S. 156, 162 (1972).

For two additional reasons, § 231(a)(3) is subject to a particularly high level of

scrutiny under this test. First, it imposes criminal penalties, and “[c]riminal

statutes must be scrutinized with particular care” under the vagueness test. Hill at

459. Second, it threatens to interfere with First Amendment rights, which means

“a more stringent vagueness test should apply.” Vill. of Hoffman Ests. v. Flipside,

Hoffman Ests., Inc., 455 U.S. 489, 499 (1982).

           a. The Statute’s Imprecise Language Improperly Hinders a
              Person of Ordinary Intelligence from Discerning What Conduct
              it Prohibits

        Ordinary citizens are entitled to “be informed as to what the State commands

or forbids.” Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972) (citing

Lanzetta v. New Jersey, 306 U.S. 451, 453 (1939). Here, a person of ordinary

intelligence must guess at the meaning of §231(a)(3) because it is replete with vague

and imprecise terms. The statute provides:


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             “Whoever commits or attempts to commit any act to
             obstruct, impede, or interfere with any fireman or law
             enforcement officer lawfully engaged in the lawful
             performance of his official duties incident to and
             during the commission of a civil disorder which in
             any way or degree obstructs, delays, or adversely
             affects commerce or the movement of any article or
             commodity in commerce or the conduct or performance of
             any federally protected function..”

      18 U.S.C. §231(a)(3) (emphases added).

      “Any act” can include anything from protected free speech and expressive

conduct to an egregious assault. The most problematic part of the statute, however,

is how to decipher what “incident to and during the commission of a civil disorder”

means. The statute defines “civil disorder” as:

             “Any public disturbance involving acts of violence by
             assemblages of three or more persons which causes an
             immediate danger of or results in damage or injury to the
             property or person of any other individual.”

      18 U.S.C. §232(1). However, the statute fails to instruct whether a defendant

must have participated in that civil disorder and/or how physically close a

defendant must be for the conduct to count as “incident to.” Lastly, the statute ends

again with the vague words, “in any way obstructs, delays, or adversely affects

commerce.” This phrase opens the door for endless subjectivity over (1) what

constitutions obstruction and/or delay, and (2) what does or does not constitute an

“adverse effect,” and (3) what is sufficiently material “affect upon commerce” to fall

within the proscription of the statute.


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      Unsurprisingly, a South Carolina ordinance with similar language was found

unconstitutionally vague in McCoy v. City of Columbia, 929 F. Supp. 2d 541, 554

(D.S.C. 2013). That ordinance made it unlawful “for any person to interfere with or

molest a police officer.” Id. Like that ordinance, Section 231 (a)(3) “includes no

objective standard to guide the police in determining that conduct constitutes

unlawful interference….”Id. Because there is no standard to provide such guidance,

the statute “authorizes, if not encourages, discriminatory enforcement.” Id.

Similarly, the language of Section 231(a)(3) includes the word “interfere” and there

is no standard to guide law enforcement to discern what the word means.

Furthermore, the neighboring words in the statute do not make the ambiguous

words any more clear; if anything, the other words of the statute increase the

confusion.

      Section 231(a)(3)’s language requires courts to undertake an indeterminate,

“wide-ranging inquiry” that denies defendants fair notice and encourages arbitrary

enforcement. Johnson v. United States, 576 U.S. 591, 597 (2015). Moreover, it

provides no clearly articulated nexus between the act and the “civil disorder.” And

while Section 232(1) provides a definition of “civil disorder,” its definition could

apply to virtually any tumultuous public gathering involving more than two people.

Because the statute invites the same kind of unwieldy judicial assessment struck

down in Johnson, Section 231(a)(3) similarly should be held invalid.

      Furthermore, by enacting a statute with such imprecise language, Congress

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created “a criminal prohibition of alarming breadth.” United States v. Stevens, 559

U.S. 460, 474 (2010). Hill, supra, the Court found that an ordinance’s sweeping

nature was neither “inevitable” nor “essential to maintain public order.” 482 U.S. at

464. Because the ordinance was “not narrowly tailored to prohibit only disorderly

conduct or fighting words,” it wrongly gave police “unfettered discretion to arrest

individuals for words or conduct that annoy or offend them.” Id. at 465. Similarly,

here, § 231(a)(3) casts far too wide a net. By expansively encompassing “any act”

that could interfere with the duties of a police officer or firefighter during a civil

disorder, § 231(a)(3) is not limited to “violent acts” or acts that result in bodily

injury or that otherwise put persons or property in imminent danger. C.f. United

States v. Reese, 92 U.S. (2 Otto) 214, 221 (1876) (“It would certainly be dangerous if

the legislature could set a net large enough to catch all possible offenders, and leave

it to the courts to step inside and say who could be rightfully detained, and who

should be set at large.”). Moreover, the statute does not weed out those acts with

protected expressive content or those that occur in a traditional public forum.

Instead, § 231(a)(3) reaches a substantial amount of expressive conduct, and

without clear boundaries, the law chills free speech and invites discriminatory

application by law enforcement and the government.

          b. Section 231(a)(3)’s Reliance on Subjective Reactions Renders
             Violations Unpredictable

      Section 231(a)(3) also impermissibly requires individuals to predict how

others will react to their conduct. If they fail to predict that reaction accurately,
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they risk violating the law. This violates the fair notice requirement under the Due

Process Clause. For example, in Coates v. City of Cincinnati, 402 U.S. 611 (1971),

the Supreme Court struck down a statute that criminalized conduct “annoying to

persons passing by.” Id. at 614. The Court reasoned that, while the city was “free to

prevent people” from criminalizing certain enumerated conduct, such as “blocking

sidewalks” or “littering streets,” it could not enforce “an ordinance whose violation

may entirely depend on whether or not a policeman is annoyed.” Id.

      Similarly, in City of Chicago v. Morales, 527 U.S. 41 (1999), the Supreme

Court invalidated a statute that prohibited loitering “with no apparent purpose.” Id.

at 60. The Court observed that it was “difficult to imagine how any citizen of the

city of Chicago standing in a public place with a group of people would know if he or

she had an ‘apparent purpose.” Id. at 57.

      Here, as in Coates and Morales, it is similarly difficult to imagine how an

individual could predict the potential consequences of each act he/she commits that

is somehow “incident to or during,” a “civil disorder.” Indeed, § 231(a)(3) triggers

criminal liability whenever the defendant’s conduct interferes or impedes with a

fireman or police officer performing his official duties. But a gesture, sign, or other

act that distracts one officer and makes him/her feel impeded or interfered with,

could have no impact at all on another. Moreover, the individual’s “act” may be

“incident to and during” a civil disorder that he/she is not involved in at all.

These subjective standards leave much discretion of police and prosecutors to

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determine whether a particular individual’s conduct violates the law, and means

that a potential defendant is not provided with fair and sufficient notice of what

constitutes unlawful behavior. Due to this lack of predictability and precision,

§231(a)(3) violates the fair notice requirement.

          c. Section 231(a)(3) Lacks a Scienter Requirement, Which Weighs
             in Favor of the Law’s Unconstitutionality

      The Court has repeatedly affirmed that “a scienter requirement may mitigate

a law’s vagueness, especially with respect to the adequacy of notice to the

complainant that his conduct is proscribed.” Vill. of Hoffman Ests at 499. But here,

there is no such mitigation, because § 231(a)(3) contains no scienter requirement,

thus creating ‘a trap for those who act in good faith.’” Colautti v. Franklin, 439 U.S.

379, 395 (1979) (quoting United States v. Ragen, 314 U.S. 513, 524 (1942)). This

absence weighs in further favor of the statute’s unconstitutionality.


      Additionally, where, as here, individuals must balance multiple factors, and

are subject to strict criminal liability when they balance those factors incorrectly, a

statute should be held unconstitutional. See Colautti, 439 U.S. at 380-95. In

Colautti, a Pennsylvania statute required physicians to weigh several variables to

determine fetus viability. Id. If the physician made the wrong determination after

weighing these variables, the statute imposed strict criminal liability. Id. at 395.

The Court struck down the statute, reasoning that “[t]he perils of strict liability

[were] particularly acute . . . because of the uncertainty of the viability


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determination itself.” Id.

         Here, individuals seeking to exercise their First Amendment rights in

political protest must balance several factors. They must consider whether they are

sufficiently “incident to” a group of two or more people in a situation amounting to a

“civil disorder,” whether police or firemen are in the vicinity, and whether “any” of

their acts could interfere with “any” police officer’s duties, as determined by that

officer. If the wrong determination(s) are made, even in good faith, he/she is now

subject to criminal liability. To the extent that a scienter requirement is read into

the statute, this does not cure the fair notice issue. Instead, this merely leaves

police, prosecutors, and judges to decide after the fact whether the statute requires

knowledge (and if so, of what) or specific intent (and if so, to do what).

   II.      Section 231(a)(3) exceeds Congress’s Commerce Clause Authority

         The Commerce Clause prohibits the criminalization of noneconomic

intrastate activity unless “the regulated activity ‘substantially affects’ interstate

commerce.” United States v. Lopez, 514 U.S. 549, 559 (1995). Under the Lopez

framework, Section 231(a)(3) is an impermissible use of Congress’s power that

intrudes into the States’ enforcement of criminal laws and because it criminalizes

activity that lacks a substantial nexus to interstate commerce.

         It is an established part of our system that The States are the ones

responsible for defining and enforcing criminal law. Lopez, 514 U.S. at 561.

Congress is only allowed to interfere with that separation of powers in three

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categories of activity: (1) the use of channels of interstate commerce, (2) the

instrumentalities of interstate commerce, or persons or things in interstate

commerce, and directly relevant to this case, (3) those activities that substantially

affect interstate commerce.” Id. Here, only the third factor is applicable.

       The Supreme Court in United States v. Morrison, 529 U.S. 598, 610-612

(2000), established a test for determining whether a regulated activity

“substantially affects interstate commerce.” The four-factor test is as follows with

direction that the most important factors are the first and the fourth:

      (1) whether the regulated activity is commercial/economic in nature;
      (2) whether an express jurisdictional element is provided in the statute
      to limit its reach; (3) whether Congress made express findings about
      the effects of the proscribed activity on interstate commerce; and (4)
      whether the link between the prohibited activity and the effect on
      interstate commerce is attenuated.

Id. When evaluating each of the Morrison factors, Section 231(a)(3) does not pass a

single one.

          a. Section 231(a)(3) does not regulate economic activity

      The Civil Disorder statute criminalizes “any act” to obstruct, impede or

interfere with a local police officer or firefighter performing lawful duties “incident

to and during the commission of a civil disorder which in any way or degree

obstructs, delays, or adversely affects commerce or the movement of any article or

commodity in commerce.” 18 U.S.C. § 231(a)(3). As such, the act of interfering with

the duties of a law enforcement officer incident to a civil disorder is not economic in

nature and cannot pass the first part of the Morrison test.
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      In Lopez, the Supreme Court found that gun possession under the Gun-Free

School Zones Act has nothing to do with commerce and is not part of an economic

regulatory scheme. Lopez, 514 U.S. at 567. See also Morrison, 529 U.S. at 617

(holding that a civil remedy for gender-motivated violence under Violence Against

Women Act exceeded Congress’s commerce authority because it regulated

noneconomic activity). In clear contrast to Lopez and Morrison, an example of an

economic scheme that could be federally regulated was a federal law criminalizing

the intrastate cultivation of marijuana for personal use. Gonzalez v. Raich, 545 U.S.

1, 22-25 (2005) (failure to regulate would leave gaping hole in the Controlled

Substances Act).

      Here, there is no large economic scheme associated with the interference of

state officers and there is no direct connection to commerce or economic activity.

          b. The second factor of the Morrison test also fails because the
             commercial nexus element in Section 231(a)(3) does not limit
             the law’s reach only to activities that substantially affect
             interstate commerce

      The Civil Disorder statute references commerce however the commercial

nexus element modifies “civil disorder” and not “any act.” The statute makes it

criminal to:

      Commit any act to obstruct, impede, or interfere with any fireman or
      law enforcement officer lawfully engaged in the lawful performance of
      his official duties incident to and during the commission of a civil
      disorder which in any way or degree obstructs, delays, or adversely
      affects commerce or the movement of any article or commodity in
      commerce.

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(Emphasis added). There is no debate that the clause discussing commerce modifies

only “civil disorder.” Therefore, a defendant could be guilty of §231(a)(3) if he/she’s

act did not impact commerce. Rather, only the civil disorder itself must impact

commerce and a defendant could be guilty if he/she interfered with an officer and

that this happened to occur incident to a civil disorder.

      Most notably, the statute does not require a “substantial” impact on

commerce but only that it affect it “in any way or degree.” This defies the entire

purpose of the Commerce Clause prohibition on interference with state duties

unless there is a “substantial” impact on interstate commerce. As such, the second

Morrison factor fails.

          c. Congress has not proscribed that the activities regulated
             under Section 231(a)(3) “substantially affect” interstate
             commerce

      Section 231(a)(3) originated from the Civil Obedience Act of 1968, an Act that

tried to inhibit the lawful efforts of many Civil Rights Advocates, including Dr.

Martin Luther King Jr. (Pub. L. 90-284, April 11, 1968, Title X; codified at 18 U.S.C.

§§ 231(a)(1)-(3)). The politician behind this act, Senator Russell B. Long, often

supported legislation inhibiting the civil rights movement based on his strong views

that segregation was appropriate and that the movement showed “ingratitude.”

(106 Cong. Rec. 4183 (Mar. 2, 1960)); (110 Cong. Rec. 7903 (Apr. 14, 1964)). In order

to support his proposed amendment, Senator Long discussed, without citation, the

“wholesale Negro violence,” which he said was “an almost nightly affair in the

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streets of our cities.” (114 Cong. Rec. 1294-95 (Jan. 29, 1968)). He referenced

largescale “riots” as generally impeding the flow of goods in interstate commerce.

(114 Cong. Rec. 5535-36 (Mar. 6, 1968).

       However, Congress chose to define Civil Disorder as involving “acts of

violence by assemblages of three or more persons.” 18 U.S.C. § 232(1). This is not

the “large-scale riots” that Senator Long described. Most importantly, the primary

purpose of § 231(a)(3) is to criminalize conduct that interferes with officer duties

and does not prioritize the destructive behavior that riots sometimes cause –such as

the destruction of property. Rather, the statute criminalizes the actual interference

with officers with a requirement that the activity being “incident to and during” a

civil disorder. Therefore, Congress has not spoken to how interference with officer

duties substantially affects interstate commerce and so the third Morrison factor

also fails.

              d. The last factor of the Morrison test fails because the
                 relationship between 231(a)(3) conduct and any effect on
                 commerce is too attenuated

       Congress’s commerce authority is limited and cannot support such

attenuated activities to interstate commerce. The statute does not identify a

requirement that commerce be affected directly. Rather, a defendant can be

convicted if the individual’s acts simply interfered with officers “incident to and

during,” any “civil disorder” that happens to affect commerce “in any way or

degree.” This indirect and minor potential effect on commerce cannot justify such

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federal intrusion. Morrison, 529 U.S. at 617 (Congress cannot regulate noneconomic

criminal conduct based solely on an attenuated argument that the conduct had an

“aggregate effect” on interstate commerce). The fourth factor of Morrison was

identified as being one of the most important and that is to ensure that attenuated

impacts on commerce do not lead to a Commerce Clause slippery slope where

anything can be described as “affecting commerce.” As such, the final and fourth

Morrison factor is not met.

      Therefore, Section 231(a)(3) should be found unconstitutional as it creates an

impermissible federal intrusion on the States’ rights to regulate local and

noneconomic activities.

   III.     The Congressional Certification on January 6, 2021, is not a
            Federally Protected Function Within the Meaning of Section
            231(a)(3)

      The superseding indictment does not identify a federally protected function

that was affected by the Civil Disorder in Count One. A “federally protected

function” is defined as a “function, operation, or action carried out, under the laws of

the United States, by any department, agency, or instrumentality of the United

States or by an officer or employee thereof; and such term shall specifically include,

but not be limited to, the collection and distribution of the United States mails.” 18

U.S.C. § 232(3).

          The government can no longer argue that the joint session of Congress was

the federal function interfered with by the “civil disorder.” See United States v.

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Nordean, 21-cr-175 (TJK), ECF No. 263 (Court finds that Congress is not a

“department, agency or instrumentality” for purposes of the statute). Rather, In

Nordean, the Court ruled that the United States Secret Service protection of the

Vice President on January 6 was the federally protected function and thus rejected

the defense’s argument on that basis. Id. at 32.

      However, this argument forgets that the Secret Service was only there on

January 6, 2021, to protect the Vice President and his family and that the

Metropolitan Police Department (“MPD”) and United States Capitol Police

(“USCP”) were there for a different purpose. The civil disorder statute criminalizes

“the interference with a law enforcement officer engaged in the lawful performance

of his/her official duties.” Plainly put, a defendant need not be found to have

hindered a Secret Service officer from his/her duties on January 6, 2021, to be guilty

under this statute. Rather, a defendant only needs to have interfered with any law

enforcement officer. MPD and USCP were not working in conjunction with the

Secret Service to protect the Vice President and his family. Instead, MPD and

USCP had a separate role.

      Captain Sean Patton, a supervisor with the USCP testified that on January

6, 2021, he “was responsible for the men and women who were working in the

House and Senate Chamber.” United States v. Sheppard, 21-cr-203 (JDB), Trial

Transcript, Day 2 at 121. He further testified that the mission of the USCP is to

“protect the Congress, employees, visitors, and facilities so that the Congress can

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execute their congressional and legislative duties in a safe, secure, and open

environment.” Id. Members of the USCP had a broad role that day separate and

apart from the specific role of the Secret Service, whose sole job was to protect the

Vice President. Similarly, MPD was there to assist the USCP and not the Secret

Service. Therefore, the government has not identified what federally protected

function was adversely affected by the Civil Disorder.




                                      CONCLUSION

      For all of reasons discussed above, the Court should dismiss count one of the

Superseding Indictment.



                                         Respectfully submitted,

                                         A. J. KRAMER
                                         FEDERAL PUBLIC DEFENDER

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